Case 19-12008-BLS Doc47_ Filed 01/13/20 Page 1of4

TUR Bale ier cle mom ti mse mer LL Check one box only as directed in this form and in

Form 122A-1Supp:

 

Debtor 1 Randy Lee Burris

First Name Middie Name Last Name

C] 4. There is no presumption of abuse.
Debtor 2

(Spouse, if fling} First Name Middle Name Last Name C) 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A—2).

Case number 19-12008-BLS : (Q) 3. The Means Test does not apply now because of
(If known) qualified military service but it could apply later.

 

United States Bankruptcy Court for the: District of Delaware

 

 

(J Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

ea Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
(J Not married. Fill out Column A, lines 2-71,
CE} Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

 

J Married and your spouse is NOT filing with you. You and your spouse are:
QO Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B, By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your

 

2. Your gross wages, salary, tips, bonuses, overtime, and commissions 0.0 Oo
(before all payroll deductions). $_-o

3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filed in. s 0.00

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Colurnn B is not 0- i] 6
filled in. Do not include payments you listed on line 3. $a

  
  
 
  
 

5. Net income from operating a business, profession,
or farm

Gross receipts (before all deductions)
Ordinary and necessary operating expenses

6. Net income from rental and other real property
Gross receipts (before all deductions)

Ordinary and necessary operating expenses

Net monthly income from rental or other real property $ 600 5 rOPy $ G.00 $
7, Interest, dividends, and royalties $ G.g0

 

 

Officia] Form 122A-1 : Chapter 7 Statement of Your Current Monthly Income page 1

 
Case 19-12008-BLS Doc47_ Filed 01/13/20 Page 2 of 4

Debtor 1 Randy Lee Burris Case number (known) 19-1 2008-BLS

 

First Name Middle Name Last Name

8. Unemployment compensation

 

Do not enter the amount if you contend that the amount received was a benefit
under the Sociai Security Act. Instead, list it here: ...

For you uu...
FOr YOUP SPOUSE oe esecsesscsscssensreessessesseesvaneeesscnsensesans $

 

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If you received any retired
pay paid under chapter 61 of title 10, then include that pay only to the extent that it
does not exceed the amount of retired pay to which you would otherwise be entitled if 0. co
retired under any provision of title 10 other than chapter 61 of that title. =

10. income from all other sources not listed above. Specify the source and amount.

Do not include any benefits received under the Social Security Act payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
States Government in connection with a disability, combat-related injury or disability, or
death of a member of the uniformed services. If necessary, list other sources on a
separate page and put the total below.

$

 

$ ? $e
$ 0.00

Total amounts from separate pages, if any. +$ g ' 0 +$

 

 

11, Calculate your total current monthly income. Add lines 2 through 10 for each

 

 

 

 

column. Then add the total for Column A to the total for Column B. $ G00 + 5 =

sG.00

 

 

 

Ee Determine Whether the Means Test Applies to You

| 12. Calculate your current monthly income for the year. Follow these steps:

Total current
monthly income

 

12a. Copy your total current monthly income fromm LING 141. o.....ccccesccsccsseseesssssssseessscesssssscessesereccessarssssecsecesesssepveerean Copy line 11 heres

 

$_O.g0__

 

 

Multiply by 12 (the number of months in a year).

13. Calculate the median family income that applies to you. Follow these steps:

 

Fill in the state in which you live. be

 

 

 

 

Fill in the number of people in your household, om

 

x 12

12b. The result is your annual income for this part of the form. im. | $_ gO

 

Fill in the median family income for your state and size of household. . enveeesesae vesssevaeransestuesesassseesaeeeurensee Te

 

 

 

To find a list of applicable median income amounts, go online using the link specified i in n the separate
instructions for this form. This fist may also be available at the bankruptcy clerk’s office.

14. How do the lines compare?

14a. C] Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Ge to Part 3. Do NOT fill out or file Official Form 122A-2

14b. QJ) Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A—2.

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income

page 2

 
Case 19-12008-BLS Doc47_ Filed 01/13/20 Page 3of4

Debtor 1 Randy Lee Burris Case number orsnown) 19-42008-BLS
First Name Middle Name Last Name

Sign Below

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

x Ault Buti) x

 

Signature of Defer 1 Signature of Debtor 2

r

Date YP

Date
‘DDS iYYYY

MMi DD /YYYY

If you checked line 14a, do NOT fill out or file Form 1224-2,
If you checked fine 14b, fill out Form 122A—2 and file it with this form.

 

 

 

Official Form 1224-1 Chapter 7 Statement of Your Current Monthly Income page 3
Case 19-12008-BLS Doc 47 Filed 01/13/20 Page 4 of 4

Debtort Randy Lee Burris

Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 03/01/2048 to 08/34/2019.

Non-CMI - Social Security Act income
Source of Income: Social Security

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Income by Month;
6 Months Ago: 03/2019 $771.00
3 Months Ago: 04/2019 $771.00
4 Months Ago: 05/2018 $771.00
3 Months Ago; 06/2079 $771.00
2 Months Ago: 07/2019 $771.00
Last Month: Os/2019 $771.06
Average per month: $771.06
Non-CMi - Excluded Other Income
Source of Income: Food Stamps
Income by Month:
6 Months Ago: 03/2019 $178.00
3 Months Ago: 04/2079 $178.00
4 Months Ago: 05/2019 $7178.00
3 Months Ago: 06/2019 $178.00
2 Months Ago: 07/2019 $178.00
Last Month: 08/2019 $178.00
Average per month: $178.00

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